Case 1:21-cr-20218-AHS Document 79 Entered on FLSD Docket 05/10/2021 Page 1 of 6
Case 1:21-cr-20218-AHS Document 79 Entered on FLSD Docket 05/10/2021 Page 2 of 6
Case 1:21-cr-20218-AHS Document 79 Entered on FLSD Docket 05/10/2021 Page 3 of 6
Case 1:21-cr-20218-AHS Document 79 Entered on FLSD Docket 05/10/2021 Page 4 of 6
Case 1:21-cr-20218-AHS Document 79 Entered on FLSD Docket 05/10/2021 Page 5 of 6
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